              Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 1 of 10 PageID #:1

                       [lfyouneedadditionalspaceforANYsection,pleaseattachanadditionalsheetandreferencethatsection.]
                                                                               COURT
                                                       UNITED STATES DISTRICT
                                                       NORiHERN DISTRICT OF
                                                                             ILLINOIS

\        -r       *                     !. -:'.'                           )
                              -'
                                                                           )      Cat 3
@convicted)                                                                )      1:23-or{6508
PETITIONER                                                                        Judge John J. Tharp, Jr
                                                                           )
                                                                                  Magbtrate Sunil R. Hariani
                                                                           )      PC 10
                                                                            )     RandomAsspnnrent
lPrison.t Number)
                      vs.
                                                                           )

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                                                                           )
                                                                           )
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              _                    ..     :..

    @Cilrp"*'tendent'of or authorized
                                                                           )
                                                                            )                                               Au6 20 eoa    ([^
    p"rron having custodY                              Petioner)
                                                                            )
    irespoNoENT, and
                                                                            )                                   C,gffi?MBPfiBT?SOO
    (Fill in the following blank only
                                      if                                    )
                                 a sentence                                 )
    iudsment attacked imposes
                                                                             )
    io .i-*.nce in the future')
                                                                             )                                              Conviction:
                                                                             )     Case Number of State Court
        ATTORNEY GENERAL OF THE
                                                                             )
        STATE OF                                                                                 /- -:- 2.: ,/a- <. i
                                                                                                      ..

                           -; .      ' \-,.,!'-'                              )                                       '-1


        (St"t" ;t**                                                           )
                                   l.dg*ent entered)
                                                                              )
                                                                              )
                                                                              )

                                        AMENDED PETITION FOR
                                                             WRIT OF HABEAS CORPUS -
                                                 PERSON IN STATE CUSTODY

                                                                                    entered:
        t. Name and location of court where conviction




                                                                                        \
         4.       Sentence(s) imPosed:                                                   \
                       r r               \;-.:- \ '-
                                          (Check  one)     Et Not guiltY          Guilty         tr
                                                                                              EI Nolo contendere
                  What  wm   Yorrr Plea?                                                 another count or
                                                          irrOi",rnJrt and not guilty to
         5.
                                  guiltYto   one count o,
                  If you pleaded
                  iniictment, give details:
                              [lfyouneedadditionalspaceforANYSection,pleaseattachanadditionalsheetandreferencethatsection.]
                                                                                    1
          Rev.06/03/2016
       Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 2 of 10 PageID #:2

                                                                                                    and reference that section']
                                                     section, please attach an additional sheet
              [f you need additional space for ANY




l. Kind of trial: (Check one):             E Jury       E Judge onlY
2. Did you testifY atfral?
                                           tr YES EI NO
                                      or the sentence imposed? E YES
                                                                     trNO
J. Did you appeal from the conviction
a



       (A)       If You aPPealed, give the
                 (1)Name 66c6urt:               Inz'[ ..Str]';r\ iatr- <1'q-'a'/*-
                 (2) Result:
                 (3) Date of ruling:
                  (4) Issues raised:

                                                                                                                                          ,-*\'   , t/




       (B)        If you did not appeal, eiplain bri!fly why not:€-+qrt \
                                                                                                      L'""'rdil '' \-':*'r- r's'-


                                                                                                              YES tr No
4. Did you appeal, or seek leave to appeal, to the highest state court? K
       (A)        If Yes, give the

                  (1) Result:      \      \ *,--- *.^'\ A> t-t .r--)
                  (2)Date of ruling:
                  (3) Issues raised:


                                                                                                                                              rr---r- 3 t I

                                                                                                                                   ^\,=i*.,-,ar

        (B)       If you did not appeal, elpt,l" Ui{tny why not: Ll                            'r   - r-L u:,.-'e1L \ Lrt' r- '-.'or-

              b,,.: -yr rnr*r-r-Jui ) , \ a(T:t ztl z   fr :' -* -'r      ,-\ '--s+'
                                                                                   .                  a\                  cr'-u<-'

                                                                   of certiorari?
    5. Did you petition the United states Supreme court for a writ
        trYES tr         NO

        If yes, give date of Petition: H / i4

         Date certiorari wasdenied: r1 I
                                                            -+4               PART II - COLLATERAL
    PROCEEDINGS

                                                                                               sheet and reference that section'l
                                                for ANY section, please attach an additional
                ilf you need additional space

    Rev. 06/03/2016
    Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 3 of 10 PageID #:3


                                                            please attach an additional sheet and reference that section']
           [lfyou need additional space forANY section,


1. With respect to this conviction or sentence, have you filed a post-conviction petition in state
    court?
                 tr YES                ENO
    With respectto eachpost-conviction petition give the following information (use additional
    sheets if necessary):

    A. Name of court:
    B. Date of filing:              i-./ P
    C. Issues raised:               r-r / +j+




    D. Did you receive an evidentiary hearing on your petition?                              tr YES               trNO
    E.   What was the court's ruling?              ril+
    F.   Date of court's ruling:                  .r/4
    G. Did you appeal frorn the ruling on your petition?                                     tr YES               ET NO

    H.   (a) If yes, (l) what was the result? t-\ / rr

                       (2) date of decision:                  l1/     11


         (b) If no, explain briefly why not: t'-l \ -'w'I- ,'r. {,r',\- Lr;t i 'i                r' -r -. -' r\ t J


    I. Did you appeal, or seek leave to appeal this decision to the highest state court?
       tr YES EI NO
       (a) If ves. (1) what was the result? r\ / +

                       (2) date of decision:                    i-\i A
         (b) If no, explain briefly why not: I l"r'-vr r^'---,- LI ] ''r                          c. "' -u" $ r'*]




                                                         filed a petition in a state court
2. With respect to this conviction or sentence, have yousuch
    using any other form of post-conviction procedure,        as coranx ttobts or nabeas

                                                            please attach an additional sheet and reference that section.]
           [lf you need additional space for ANY section,

Rev.06/03/2016
    Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 4 of 10 PageID #:4


                                                               please attach an additional sheet and reference that section.]
           [lf you need additional space for ANY section,

    corpus?

    trYES tr NO
    A. If yes, give the following information with respect to each proceeding (use additional
         sheets ifnecessarY):

         1.          Nature of proceeding t-{ /                   A
         2.          Date petition filed                rJr I ,-,.,i

         3.          Ruling on the petition , i                  I l\
         4.          Date of ruling                 t1[tr
         5.          If you appealed, what was the ruling on the appeal?                            \1 r rt
         6.          Date of ruling on appeal

         7.          If there was a further appeal, what was the ruling?
         8.          Date of ruling on appeal l{ t It-

    3. With respect to this conviction or sentence, have you filed a previous petition for
habeas corpus in federal court?                           trYES E NO
    A. If yes, give name of court, case title and case number:                             d lA-

    B. Did the court rule on your petition? If so, state

         (l)Ruling: H/A
         (2) Date:               r.-\ I A-

4. With respect to this conviction or sentence, are there legal proceedings pending in any court,
   other than this petition? Et YES tr NO
   ffi;;;ili;'rlrt.i-. : -'.*r': .*'                            -1t
                                                      ,^'L \r;''', d, ',*. ., r         '--,,u-               \,
     ea-*,,x-t-6a1 ,C', r r---,,lf eo,n'r. ; Lrr>{jr--a\gl             r ''
                                                                            L.-..-\ .--,-
     .-t,-, aL                                                                                   -) \"i',a:,




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Rev.06/03/2016
     Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 5 of 10 PageID #:5


                                                             please attach an additional sheet and reference that section']
            [lf you need additional space for ANY section,


1. State briefly every ground on which you claim that you are being held unlawfully.
                                                                                        pages stating
    Summarize briefly Ihe facts supporting each gtound. You may attach additional
    additional grounds and supporting facis. If you fail to set forth all grounds in this petition,
    you may be barred from presenting additional grounds later'

    BEFORE PROCEEDING IN TIIE FEDERAL COURT, YOU MUST ORDINARILY
    FIRST EXIIAUST YOUR STATE COURT REMEDIES WITII RESPECT TO EACH
    GROUND FOR RELIEF ASSERTED.
                                                                                          -)\t
    (A)           Ground one           €l                                                    ir'rfiL
                  Supporting facts (tell             story briefly wi                        cases or law):


                  ,1?'i=fl-t-' qyv're-l                c LCA =.                      fir', .cL \1 . AO t 1 +

                  *t^a-
                                                                                         t,
              .:) 'a-r-'. *\. o'r'*--' .) -',,r.^\ =[-
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                  -{'     f sa\ :n r.fl
                  A?;:                                                                           L r.f"-. "-f..*r.   Lzr. r . ,-t.




     (B)          Ground      two ?-'.
                  Supporting facts:

                        i)?,zt-'.t-.',r.^q-''          h^^r- bc.o..ncr      Ll. 'r^'ttr'*t[
                                   '.,.oE A'a.^t',r,A                   T
                   6r,Ar n -ha.<:rA rr-r 4.,,r t e 4. Af#.-,^r-- -f n\=,.^/'*r\l eb+-""taA
                   dL\il,\l- ?rt.t.'--r,', . ,. t..n..-rr..-r.-ioJ t,.'' -.i-l.r,^-,                                      \
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                  K^. ---\*)                                                             A
                             .,J\(\
                        r^ 4- | .-y?      r 7-1 r4.f 7 r)
                   \"
                                                   \ce
     (c)          Ground three            G.l
                  Supporting facts:
                                                             please attach an additional sheet and reference that section.]
            [lf you need additional space for ANY section,

Rev. 06i03/2016
     Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 6 of 10 PageID #:6


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                  i\?                                                 .,.   t-G-t-n*                                Lp.^ ne

                  Lc iJ                  *-                                                                                   ,.\ 1--*

                                     \i -.*-, a^                                                                              q




     (D)




                  A?e-1r.-Yr                                    Ae+*                              t-b       -I
                   ;'t\\,.rr-.at                 a<                              Ar rr<-\J                    -\{^ z-zir'-

                                                                                                                                         ?,
2. Have all grounds raised in this petition been presentedto the highest court havingjurisdiction?
     EIYES tr NO
3.   lf you answered "NO" to question (2), state briefly what grounds were not so presented and why not:
            h\ /n




PART IV - REPRESENTATION


                                                             please attach an additional sheet and reference that section.]
            [lf you need additional space for ANY section,

Rev. 06/03/2016
    Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 7 of 10 PageID #:7


                                                            please attach an additional sheet and reference that section.]
           [lf you need additional space for ANY section,


Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment attacked herein:


    (A) At preliminary hearing              ?.Li                                                                             *3   \-1;z".rf .'.'i
                                                                                                                                              -i
    (B) At arraignment and plea ?---LL.
    (C) At trial

    (D) At sentencing r--\i *
    (E) On appeal ?, o €'l
    (F) In any post-conviction proceeding                   r-f i ++
    (G)Other(state): fU.. rL?--r.\.r- r"'to,:r^-ItLc{\.',A G^'Lr..-;e-i.,..i-l dr*o,.rr13
PARTV-FUTURESENTENCE

Do you have any future sentence to serve following the sentence imposed by this conviction?
trYES E NO
Name and location of the court which imposed the sentence:                                 fl/,+

Date and length of sentence to be served in the future                               \'l / ,q.-

WHEREFORE, petitioner prays that the court grant petitioner all relief to which he may be
entitled in this proceeding.

Signed on:         9te-zl o-4                                                fliA
                 @ate)                                        Signature of attorney (if any)

                                                              I declare under penalty of perjury that the foregoing
                                                              is true and correct.

                                                              (Signature of petitioner)

                                                                  1i ,?*gL
                                                              (I.D. Number)
                                                                                                               --rcr- L
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                                                              i ?4 nev &-*-'gf . :# z"aYE o
                                                              (Address)




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Rev.06/03/2016
               Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 8 of 10 PageID #:8


                                                                                                (short Form)
AO 240 (Rev. 07/l 0) Application to Proceed in District court without Prepaying Fees or costs



                                        UNTTBO STETBS DISTruCT COURT
                                                                            for the



    L eiE---f .nrr <ts1                                                        )
                          Plaintilf/Petitioner                                  )
                                                                                )     Civil Action No.
  qi.e EtoP- , .,,'i ..o i-s -                                                  )
                        Defendant/ResPondent                                    )


        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                         (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

          In support of this application, I answer the following questions under penalty of perjury:
                                                                                                               -a<at
        l. If incarcerated. I ambeing held at: $y'<-14sI-L jl*..-o-!                              -                 .. '
If employed there, or have an account in the iniiitution, I have attached to'this document a
                                                                                                    - -
                                                                                             statement     ---
                                                                                                       certified by  the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutionat account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

           2. If not incarcerated. If I am employed, my employer's name and address are:

                                                 r{1*
My gross pay or wages are:             $ _tl l.q                     , and my take-home pay or wages are: $             r-{l*   per

 (specify pay perioQ
                         _ tl   I f
           3, Other Income. ln the past 12 months, I have received income from the following sources (check all that applv):

       (a) Business, profession, or other self-employment                             I Yes                      DNo
       (b) Rent payments, interest, or dividends                                      D Yes                      ilNo
       (c) Pension, annuity, or life insurance payments                               D Yes                      RNo
       (d) Disability, or worker's compensation payments                              tr Yes                     ENo
       (e) Gifts, or inheritances                                                     il Yes                     FNo
       (f) Any other sources                                                          fl Yes                     ENo

         Ifyou answered "Yes" to any qttestion above, describe below or on separate pages each source ofmoney and
state the qmount that you receiyed and what you expect to receive in the future.


            -ft-.i',1*a1 '{''1-<r, '-,? J
                                     - .f, a!, CAO
           A.-rr.;* u, qri.rr^ J -to {r^ .,orl .-. r.l                                  - N IA
               Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 9 of 10 PageID #:9


                                                                                               (Short Form)
AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs



          4. Amount of money that I have in cash or in a checking or savings account: S                               rf / n

         5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of valu. ihat I own, including any item of value held in someone else's name (describe the property and its approximate
value):
                                                          d / ff




                                                                                                                                  (describe and provide
           6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses
the amount ofthe monthly expense):



                                         r{lr4


           7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:


                                       dl-'4


           8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

                                       $ /rt




        Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.



Date: O4lC4__
                                                                                                              Applicant's signature

                                                                                                       L o, g 'i. .<,"(^i-,
                                                                                                                  Printed name
Case: 1:23-cv-06508 Document #: 1 Filed: 08/29/23 Page 10 of 10 PageID #:10




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